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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION
                                ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 2:06:CR:02
v.
                                                      HON. GORDON J. QUIST
ERIC RICHARD ROE,

            Defendant.
______________________________/

                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed May 31, 2006, is

approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Eric Richard Roe's plea of guilty to Count One of the First Superseding

Indictment is accepted. Defendant Eric Richard Roe is adjudicated guilty and bond will be revoked

at the time of reporting.

       3.      Defendant Eric Richard Roe shall report to the United States Marshal in Marquette,

Michigan, at 2:00 PM, Wednesday, July 12, 2006. Defendant Eric Richard Roe shall be detained

pending sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: June 27, 2006                                        /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
